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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
 Four Thirteen, LLC,                                     )
      Plaintiff, and                                     )
 vs.                                                     )   Civil Action No.
 Pramana Capital, Inc.                                   )
 and                                                     )
 Paul Shamoon,                                           )
        Defendants.                                      )   Plaintiff Demands Trial by Jury


                                          COMPLAINT
       Plaintiff Four Thirteen, LLC, by its attorneys, Handler Thayer, LLP, for its complaint

against Defendant Pramana Capital, Inc. and Peter Shamoon, states:

                                    NATURE OF THE CASE

       1.      Plaintiff Four Thirteen, LLC (“Plaintiff”), in connection with Plaintiff’s acquisition

of a lending company, paid over $2,000,000 of fully refundable fees to Defendant Pramana

Capital, Inc. (“Pramana”) in order to secure the appropriate funding for the acquisition. Thereafter,

Defendant Pramana agreed to pay another $375,000 to Plaintiff with definite repayment terms.

Despite repeated oral and written promises by Pramana’s President, Defendant Peter Shamoon,

(“Shamoon”) to repay the amounts in full by certain dates, Plaintiff has not been paid and, as a

direct result of Defendants’ conduct, Plaintiff lost an investment opportunity worth millions.

       2.      Plaintiff, Pramana and Shamoon are collectively referred to as the “Parties” and

Pramana and Shamoon are collectively referred to as the “Defendants.”
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                            PARTIES, JURISDICTION AND VENUE

        3.      Plaintiff Four Thirteen, LLC (“Plaintiff”) is a Wyoming limited liability company

that is a private holding company with a focus on impact-related investments globally. Plaintiff is

a citizen of the State of Wyoming with its principal place of business in Wyoming.

        4.      Defendant Pramana Capital, Inc. (“Pramana”) is an Illinois corporation that was

incorporated in 2015 and is a citizen of the State of Illinois with its principal place of business in

Illinois. Pramana acquires portfolio companies including start-ups, joint ventures, minority equity

investments targeting distressed investments, across sectors that include financial services, oil and

gas, logistics, mining, banking and fintech. Pramana operates in 5 countries with over 100

employees with its principal place of business and corporate headquarters located in Schaumburg,

Illinois, County of Cook.

        5.      Defendant Peter Shamoon (“Shamoon”) is one of the founders of Pramana and its

President and, upon information and belief, lives in St. Charles, Illinois, County of Kane.

        6.      Pramana, through Shamoon, transacts business in the County of Cook, Illinois and

the contracts that form the basis of the instant action were negotiated, drafted and executed in the

County of Cook, Illinois and the conduct that forms the basis of the instant action took place in

Cook County, Illinois.

        7.      Pursuant to 28 U.S.C §1332, jurisdiction is proper in the United States District

Court for the Northern District of Illinois because Plaintiff and Defendants are citizens of different

states and the amount in controversy is in excess of the $75,000 jurisdictional amount.

        8.      Pursuant to 28 U.S.C. §1390, venue is proper in the Eastern Division of the United

States District Court for the Northern District of Illinois because the subject transactions took place

within this district.



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                       ALLEGATIONS COMMON TO ALL COUNTS

       9.       On   March     12,   2020,    the    Parties   entered     into   a   written   Term

Sheet in which the Parties agreed that Defendants would agree to fund a $100,000,000 credit line

to Plaintiff at three different time intervals (the “Funding”). Defendants knew that Plaintiff

intended to use the credit line to acquire a lending company. In exchange, the Term Sheet required

that Plaintiff agreed to pay a $2,000,0000 origination fee to Defendants. This fee was to be fully

refundable in the event that Defendant Pramana did not perform. This Term Sheet is hereinafter

referred to as the “Contract.” The parties signed the Contract on March 12, 2020. See Exhibit A

for Contract.

       10.      At the time that the Parties executed the Contract, Defendants understood that the

Plaintiff intended to use the funds to make an acquisition of a lending company that Plaintiff

identified to Defendants and was fully underwritten by Defendants. Specifically, Plaintiff intended

to acquire an existing lending business based in Newport Beach, California and grow that firm’s

lending base. Defendant also understood that Plaintiff executed a binding letter of intent with the

selling partner of that acquisition based on an April 2020 closing date.

       11.      On March 16, 2020, Plaintiff confirmed that it would instruct its bank to wire the

$2,000,000 to Defendants.

       12.      On that same date, United States District Court Judge for the Western District of

Texas, Austin Division, the Honorable Robert Pitman, entered a temporary restraining order

against Defendants in an enforcement action filed by the Securities & Exchange Commission,

Securities and Exchange Commission v. Meta 1 Coin Trust, Robert P. Dunlap, individually and

d/b/a Clear International Trust, Nicole Bowdler and David A Schmidt, Defendants and Pramana

Capital, Inc. and Peter K. Shamoun a/k/a Peter K. Shamoon, Case no. 1:20-CV-273-RP (the “SEC



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Action”), which, inter alia, froze Defendants assets, making it unlikely for Defendants to perform

the Contract, or any of the promises and representations made to Plaintiff. Defendants never

notified Plaintiff of this order in the SEC Action until Plaintiff threatened to sue Defendants for

repayment of monies owed to them.

       13.     On March 25, 2020, Plaintiff indeed transferred $2,000,000 to Defendants and

Defendants accepted that money.

       14.     On March 26, 2020, Defendants confirmed that it received the $2,000,000. At that

time, Defendants promised that it was in process of executing an agreement but “will have the

Institutional Commitment [$100,000,000] in hand and will forward the same to you immediately.”

Defendants added that they were “verifying our corporate commitment for the full amount of the

$100 million USD per the terms of our term sheet and will be distributed to you in the 2nd Quarter

and 3rd Quarter of this year. This initial funding will begin on April 25, 2020 at which time you

may execute on your pending acquisition …” Finally, Defendants thanked Plaintiff “for doing

business with” them.

       15.     On April 1, 2020, Defendants retained counsel to represent them in the SEC Action.

       16.     On April 4, 2020, Defendants again represented and promised to provide written

confirmation of the Funding that it was supposed to provide Plaintiff.

       17.     On April 8, 2020, Plaintiff reminded Defendants of the expectation to receive the

$100,000,000 in funding and that, as a result of Defendants’ failure to timely provide that funding,

the company with whom Plaintiff expected to accomplish the acquisition was “threatening to walk

away.” Plaintiff asked Defendants to provide it “with more detail on this transaction to verify its

legitimacy.”




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       18.      On April 17, 2020, Defendants again represented that the “confirmation” that the

“process” was “most certain[ly].”

       19.      On April 23, 2020, Defendants again represented that a “confirmation” that the

Funding would be forthcoming.

       20.      April 25, 2020 came and went, and Plaintiff did not receive the Funding that

Defendants promised. In fact, to date, Defendants have never provided the promised Funding,

leaving Plaintiff waiting. Not surprisingly, however, Defendants kept the $2,000,000 fee.

       21.      On April 28, 2020, Defendants represented that the Funding should conclude

“tomorrow.”

       22.      On April 30, 2020, Defendants represented that they were putting the “finishing

touches” on the Funding.

       23.      On May 5, 2020, Plaintiff reminded Defendants that they had relied on the Funding

in order to accomplish the acquisition. Plaintiff also notified Defendants’ failure to provide actual

confirmation of the Funding in terms of a bank guarantee letter has caused other transactions to be

compromised and, again, asked for a date upon which it would receive the necessary bank

guarantee letter and also a confirmation that the Funding would be paid in the three intervals that

was agreed to on March 12, 2020.

       24.      On May 13, 2020, Defendants represented that the Funding would be

accomplished.

       25.      On May 27, 2020, Defendants represented that they were now on the “2 yard line”

and a “definite timeline” for the Funding.

       26.      On May 29, 2020, Defendants represented and “confirm[ed]” that the Funding

would be accomplished as first promised in the March 12, 2020 Contract. Defendants also



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“thanked” Plaintiff for its “extreme patience” and noted that they were “[e]xcited to fund and

finance the many opportunities that exist between our respective groups.”

       27.      On June 2, 2020, Defendants could only offer more excuses.             Defendants

represented that “[m]uch of this business is expected to be ready to initiate and conclude on in a

matter of days NOT weeks. Please remain patient and allow us the latitude necessary for us to

focus on various items to bring these opportunities to a successful outcome.”

       28.      On June 25, 2020, Plaintiff notified Defendants that due to Defendants’ failure to

perform, it was “forced to scramble” on the known acquisition and had to make significant

nonrefundable payments in order to sustain the intended acquisition.

       29.      On June 25, 2020, Defendants represented to Plaintiff that it could “state with the

utmost confidence that we can begin the funding process on the various projects we’ve entered

into and provide you with a funding commitment for your review, approval and execution. … In

closing, rest assured that we will successfully conclude on this endeavor we’ve embarked on

together now many months ago.”

       30.      In July and August 2020, Defendants made more representations and empty

promises about the Funding.

       31.      On August 12, 2020, the Parties, for good and valuable consideration, amended the

Contract to provide for new funding dates on September 14, October 14 and November 14, 2020,

and for Defendants to provide another $250,000 in funding (the “Amended Contract”), attached

as Exhibit B.

       32.      The Amended Contract also provided that if Defendants could not satisfy the new

funding dates, it would repay Plaintiff the $2,000,000 original fee paid on the Contract in March




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2020, plus $375,000, exclusive of interest. This additional amount in the Amended Contract was

due to the delays from Defendants.

        33.      Defendants are aware that without the Funding, Plaintiff’s intended acquisition will

fail, and may tarnish Plaintiff’s reputation in the industry, causing Plaintiff to be further injured on

a pecuniary basis.

        34.      Plaintiff performed all conditions precedent required by the Contract and Amended

Contract.

        35.      To date, Defendants have never provided the promised Funding, leaving Plaintiff

waiting. Not surprisingly, however, Defendants kept the $2,000,000 fee.

        36.      Moreover, throughout all of the negotiations with Defendants, Defendants did not

mention the existence of the freeze order in the SEC Action even though they knew that this order

prohibited them from transferring funds to Plaintiff.

        37.      The acquisition opportunity no longer exists for Plaintiff.

                                     COUNT I
                       BREACH OF CONTRACT AGAINST PRAMANA


        38.      Plaintiff adopts and incorporates allegation nos. 1-37 as and for allegation nos. 1-

37 of Count I.

       39.       On March 12, 2020, Plaintiff and Defendant Pramana entered into a valid and

enforceable Contract.

        40.      On August 12, 2020, Plaintiff and Defendant Pramana entered into a valid and

enforceable Amended Contract.

        41.      The Contract required Plaintiff to pay to Defendant Pramana a refundable

$2,000,000 fee in connection with Defendant Pramana’s securing of funding for Plaintiff’s



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acquisition. In the Amended Contract, Defendant Pramana agreed to pay Plaintiff an additional

$375,000, to be repaid pursuant to definite terms, including deadlines for payment.

       42.        Plaintiff performed all conditions precedent, including the transfer of $2,000,000

from Plaintiff to Defendant Pramana.

       43.        To date, Defendant Pramana neither secured the requisite funding nor made any

payments under the Contract or Amended Contract, therefore, breaching both the Contract and

Amended Contract.

       44.        As a result of Defendant Pramana’s breach of contract, Plaintiff has sustained

damages of $2,375,000, plus interest, and the loss of an investment opportunity that would have

earned approximately $10,000,000 annually.

       WHEREFORE, Plaintiff Four Thirteen, LLC prays for judgment in its favor and against

Defendant Pramana Capital, Inc. for damages sustained by it as a result of Defendant’s conduct,

including, but not limited to, any other damages allowable under law, including, attorney’s fees

and costs, and such other relief as this Court deems appropriate.

                                      COUNT II
                        FRAUD AGAINST PRAMANA AND SHAMOON

       45.        Plaintiff adopts and incorporates allegation nos. 1-44 as and for allegation nos. 1-

44 of Count II.

       46.        Defendants made the above repeated false representations of material fact to

Plaintiff, namely, all of the above representations of fact that Defendants would arrange for funding

from others so that the Plaintiff could accomplish the known acquisition of a lending company and

then, promising to repay Plaintiff’s monies when they knew, or should have known, that a pending

order in the SEC Action prevented them from transferring any monies to Plaintiff, directly

contradictory to the representations that it made to Plaintiff.

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        47.    As set forth above, from March through August 2020, Defendants made repeated

assurances and provided bank statements to Plaintiff showing ample funds available that the

required funding would be forthcoming and/or they would repay fees already paid to Plaintiff.

        48.    All during that time, Defendants were aware of the freeze order in the SEC Action

entered on March 16, 2020 that prevented Defendants from transferring any monies to Plaintiff.

During the negotiations between Plaintiff and Defendants, Defendants never disclosed the

existence of the freeze order entered in the SEC Action.

        49.    Defendants knew that their representations about providing funding or repaying

monies to Plaintiff were false, because they knew that the freeze order entered in the SEC Action

prevented the transfer of any monies.

        50.    Defendants made these representations to Plaintiff for the purpose of inducing

Plaintiff to continue to do business with them so Defendants could earn a handsome profit from

Plaintiff.

        51.    Plaintiff was completely unaware of Defendants’ secret intention to not provide the

funding or repay any of the monies and justifiably relied on the representations that Defendants

would both provide the necessary funding for the Plaintiff to accomplish the acquisition and/or

repay the monies to Plaintiff as promised in the Contact and Amended Contract.

        52.    Plaintiff was injured as a direct and proximate result of Defendants’ fraudulent

representations in the amount of $2,375,000, plus interest, and the loss of an investment

opportunity that would have earned approximately $10,000,000 annually.

        WHEREFORE, Plaintiff Four Thirteen, LLC prays for judgment in its favor and against

Defendants Pramana Capital, Inc. and Peter Shamoon for damages sustained by it as a result of




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Defendants’ conduct, including, but not limited to, any other damages allowable under law,

including, attorney’s fees and costs, and such other relief as this Court deems appropriate.

                                 COUNT III
             PROMISSORY ESTOPPEL AGAINST PRAMANA AND SHAMOON

       53.     Plaintiff adopts and incorporates allegation nos. 1-52 as and for allegation nos. 1-

52 of Count III.

       54.     Defendants made unambiguous promises to Plaintiff, namely, that it would provide

funding for Plaintiff’s intended acquisition and/or repay monies pursuant to the Contract and

Amended Contract.

       55.     Plaintiff justifiably relied on all of the unambiguous promises made by Defendant.

       56.     Over the course of months of negotiations, Defendants knew that Plaintiff’s

reliance on the unambiguous promises was expected and foreseeable.

       57.     Plaintiff relied on Defendants’ unambiguous promises to its detriment, and has lost,

at a minimum, $2,375,000, plus interest, and the anticipated profits from its lost opportunity to

make the known acquisition, which Plaintiff estimated to be no less than $10,000,000 annually.

       WHEREFORE, Plaintiff Four Thirteen, LLC prays for judgment in its favor and against

Defendants Pramana Capital, Inc. and Peter Shamoon for damages sustained by it as a result of

Defendants’ conduct, including, but not limited to, any other damages allowable under Illinois

law, including, attorney’s fees and costs, and such other relief as this Court deems appropriate.




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                                   COUNT IV
                     TORTIOUS INTERFERENCE WITH CONTRACT
                        AGAINST PRAMANA AND SHAMOON

        58.    Plaintiff adopts and incorporates allegation nos. 1-57 as and for allegation nos. 1-

57 of Count IV.

        59.    Plaintiff had a valid and existing contractual relationship with a third party to

acquire another company.

        60.    Defendants knew that Plaintiff had a valid and existing contractual relationship with

a third party to acquire another company.

        61.    Due to Defendants’ inability to provide the funding as promised during the

negotiations with Plaintiff, Plaintiff was forced to breach the contract with the third party, causing

Plaintiff to incur damages.

        62.    Defendants’ intentional and unjustified inducement of the Plaintiff caused Plaintiff

to breach the contract with a third party.

        63.    Defendants’ wrongful conduct caused Plaintiff to breach of the contract with the

third party.

        64.    Plaintiffs incurred damages as a result of Defendants’ wrongful conduct in the form

of $2,375,000, plus interest, and the loss of an investment opportunity that would have earned

approximately $10,000,000 annually.

        WHEREFORE, Plaintiff Four Thirteen, LLC prays for judgment in its favor and against

Defendants Pramana Capital, Inc. and Peter Shamoon for damages sustained by it as a result of

Defendants’ conduct, including, but not limited to, any other damages allowable under Illinois

law, including, attorney’s fees and costs, and such other relief as this Court deems appropriate.




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                             COUNT V
   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                  AGAINST PRAMANA AND SHAMOON

       65.     Plaintiff adopts and incorporates allegation nos. 1-64 as and for allegation nos. 1-

64 of Count V.

       66.     Plaintiff had a reasonable expectation of entering into a valid business relationship

through the acquisition of a lending company.

       67.     Plaintiff informed Defendants of its expectation to acquire a lending company and

that was the purpose of the funding that Defendant Pramana would be providing.

       68.     Defendants knew that Plaintiff expected to enter into a valid business relationship

through the acquisition of a lending company.

       69.     Defendants purposefully interfered with Plaintiff’s expectancy when they

fraudulently induced Plaintiff to act and then failed to provide the necessary funding interference.

       70.     Defendants’ purposeful interference with Plaintiff’s expectancy prevented

Plaintiff’s legitimate expectancy from ripening into a valid business relationship.

       71.     As a result of Defendants’ purposeful interference, Plaintiff incurred damages as a

result of Defendants’ wrongful conduct in the form of $2,375,000, plus interest, and the loss of an

investment opportunity that would have earned approximately $10,000,000 annually.

       WHEREFORE, Plaintiff Four Thirteen, LLC prays for judgment in its favor and against

Defendants Pramana Capital, Inc. and Peter Shamoon for damages sustained by it as a result of

Defendants’ conduct, including, but not limited to, any other damages allowable under Illinois

law, including, attorney’s fees and costs, and such other relief as this Court deems appropriate.



Plaintiff demands a trial by jury.



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Date: October 26, 2020                      Plaintiff Four Thirteen, LLC,



                                      By:      /s/ Michael Ripani

                                            One of its attorneys




Michael N. Ripani
Handler Thayer, LLP
191 N. Wacker Dr., Suite 2300
Chicago, IL 60606
Telephone: (312) 641-2100
E-mail: mripani@handlerthayer.com
Attorney I.D. No. 6204959




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